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                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                              Alexandria Division


 UNITED STATES OF AMERICA,                      )
                                                )
                                                )   Case No: 1:19-cr-00057-LO
        v.                                      )
                                                )
 PETER LE, et al.                               )
                                                )
                Defendant.                      )

      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
     DEFENDANT SPENCER PAK’S MOTION TO DISMISS THIS CASE, TO
       DISQUALIFY JUDGE LIAM O’GRADY, TO CHANGE VENUE, OR
            TO MOVE THIS MATTER TO ANOTHER DIVISION

        Defendant Spencer Pak, by counsel, Alan J, Cilman, hereby submits the following

 memorandum of points and authorities in support of his “Motion to Dismiss This Case,

 To Disqualify Judge Liam O’Grady, To Change Venue or To Move This Matter to

 Another Division”. As grounds for this motion, defendant states:

 FACTS

        This motion was originally made in United States v. Spencer Pak, case no. 1:19-

 cr-00112. Prior to the filing of that motion, almost the entirety of that case had been

 conducted ex parte or under seal, without the defendant’s participation and often without

 the defendant’s knowledge. This conduct has been and continues to be present in this

 case as numerous motions have been filed under seal and numerous orders have been

 filed under seal; some as late as this week.

        Defendant has complained about said conduct both in pleadings and in argument

 in the previous case and those complaints are incorporated herein in haec verba. One of
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 the things about which Defendant complained was that the original indictment was under

 seal.

         On April 19, 2019, undersigned counsel appeared before the Honorable Judge

 O’Grady on motions that had been filed by both the prosecution and the defense. One of

 the motions concerned whether undersigned counsel could represent both Spencer Pak

 and Zu Chang. During the motion, this Court, O’Grady J. emphasized that it believed

 that ex parte communications between the government and the Court were proper.

         The transcript (page 16) quotes the Court as follows:

         And let me make you even happier today about the fact that you don't
         exactly know what's going on in the case because too much is sealed right
         now.

         I got a submission last -- this morning from the Government, a supplement
         to the motion to resolve the attorney conflict, which is filed ex parte under
         seal. Without going into specifics, it reflects without question that Mr. Pak
         and Mr. Chang are involved in the same drug conspiracy, which also
         involves other violence attendant to the distribution of marijuana and
         cocaine, puts them very close together.

         And without question, based on the submission, in the same conspiracy,
         involved in perhaps a little -- one may be in a different position in the
         conspiracy to the other, but without question they are both in the same
         conspiracy.

         While the idea of a sealed, undisclosed indictment being used to advance the

 prosecution’s cause on a motion is abhorrent, eventually, the indictment would be

 unsealed and the defendant would have an opportunity to confront and to challenge the

 allegations. In contrast, the ex parte filing described by Judge O’Grady in this case, had

 the clear purpose of prejudicing the Court against Spencer Pak without providing an

 opportunity to confront and to challenge the allegations; not at the hearing on the motion,

 and not ever. The attempt to prejudice the Court worked; Judge O’Grady stated twice




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 that there is no question that Spencer Pak and Zu Chang are involved in the same drug

 conspiracy and that that drug conspiracy involves violence. In that case, Spencer Pak

 was charged with conspiracy to distribute cocaine and conspiracy to distribute marijuana.

 If the criminal complaint and the preliminary hearing provide any guidance, a few sales

 are described, but there was no description of Spencer Pak personally engaging in

 violence during any of the described sales or at any other time.

        The purpose of the ex parte submission was to libel Spencer Pak and to ensure

 that the trial judge considered violence at all stages of the proceedings. Based on the

 Court’s expression of its opinion, regarding Spencer Pak, it appears that the prosecution’s

 effort to prejudice the trial judge against the defendant with unknown and

 unchallengeable allegations has borne fruit.

        As a result of the prosecution’s misconduct, further proceedings before Judge

 O’Grady will appear to have been tainted. This pattern of improper and illegal ex parte

 communications is not unique to Judge O’Grady. On March 6, 2019, a hearing was held

 before United States Magistrate Judge Michael S. Nachmanoff on Defendant Spencer

 Pak’s “Motion to Reconsider Bond”. During the course of that hearing the government

 asked the Court to present evidence pertinent to the motion ex parte and the Court agreed

 to the ex parte communication.

            MR. TRUMP: I guess that depends. We have additional evidence. There is
            one matter that we would like to take up with the Court ex parte concerning an
            issue having to do with the recommendation by Pretrial Services. But we do
            have some additional evidence. I can proceed either by proffer, or have Agent
            Hoang testify, or both.

            THE COURT: Well, if there is information you need to provide on an ex parte
            basis, let's address that issue first.

            MR. TRUMP: Okay.



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            THE COURT: You may approach the bench.

            MR. CILMAN: Your Honor, am I allowed to be there? Am I allowed to be
            there?

            NOTE: The off-the-record sidebar conference between the Court and
            Government begins that this point; whereupon the hearing resumes as follows:

            THE COURT: Mr. Cilman, the Government has sought to approach ex parte,
            meaning without participation of defense counsel. Do you wish to be heard
            before that occurs?

            MR. CILMAN: I'm a little confused, Your Honor. Do I wish to be heard about
            them approaching you ex parte?

            THE COURT: Yes. You were standing, looking as if you wanted to join us.

            MR. CILMAN: I was asking whether I should.

            THE COURT: And I clarified with the Government that their intention was to
            provide information on an ex parte basis, not on an under seal basis in which it
            would be permissible for defense counsel to get the information. So, this is a
            request for ex parte communication. So, if you have an objection, now would
            be the time to lodge it. Otherwise, I will hear what they have to say and then
            address it as appropriate.

            MR. CILMAN: Yeah. I'm -- I generally object to ex parte communications
            because in an adversary proceeding it just seems wrong.

            THE COURT: I understand your concern. Your objection will be overruled.

            United States v. Spencer Pak, case no. 1:19-mj-90, Transcript, March 6, 2019,
            pages 4-6.

 ARGUMENT

        1. The Conduct of the Government and the Court in this Case
           Violates the Letter and the Spirit of Confrontation Clause and the
           Assistance of Counsel Clause of The Sixth Amendment to the
           Constitution of the United States of America.


        The Sixth Amendment to the Constitution of the United States of America

 provides in pertinent part that a Defendant in a criminal case has the absolute right “to be



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 confronted with witnesses against him; … and to have the assistance of counsel for his

 defence.”

        The importance of the right of confrontation was explained by the United States

 Supreme Court in the landmark case of Melendez-Diaz v. Massachusetts, 557 U.S. 305,

 129 S.Ct. 2527, 174 L.Ed.2d 314 (2009), wherein the Court ruled that procedures could

 not legislated or adopted, which violate the confrontation rights guaranteed an accused

 under the Sixth Amendment. As the Court noted:


        The Sixth Amendment guarantees a defendant the right “to be confronted
        with the witnesses against him.” (Emphasis added.) To the extent the
        analysts were witnesses (a question resolved above), they certainly provided
        testimony against petitioner, proving one fact necessary for his
        conviction—that the substance he possessed was cocaine. The contrast
        between the text of the Confrontation Clause and the text of the adjacent
        Compulsory Process Clause confirms this analysis. While the Confrontation
        Clause guarantees a defendant the right to be confronted with the witnesses
        “against him,” the Compulsory Process Clause guarantees a defendant the
        right to call witnesses “in his favor.” U.S. Const., Amdt. 6. The text of the
        Amendment contemplates two classes of witnesses—those against the
        defendant and those in his favor. The prosecution must produce the former;
        the defendant may call the latter. Contrary to respondent's assertion, there is
        not a third category of witnesses, helpful to the prosecution, but somehow
        immune from confrontation.

                                                            557 U.S. at 314



        In Strickland v. Washington, 466 U.S. 668, 685, 104 S.Ct. 2052, 80 L.Ed.2d 674

 (1984), the Court explained the Sixth Amendment Right to Counsel:


        The right to counsel plays a crucial role in the adversarial system
        embodied in the Sixth Amendment, since access to counsel's skill and
        knowledge is necessary to accord defendants the "ample opportunity to
        meet the case of the prosecution" to which they are entitled.

        Quoting: Adams v. United States ex rel. McCann.



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          The Court emphasized that the Right to Counsel is not perfunctory and that actual

 representation is required:

          That a person who happens to be a lawyer is present at trial alongside the
          accused, however, is not enough to satisfy the constitutional command. The
          Sixth Amendment recognizes the right to the assistance of counsel because
          it envisions counsel's playing a role that is critical to the ability of the
          adversarial system to produce just results. An accused is entitled to be
          assisted by an attorney, whether retained or appointed, who plays the role
          necessary to ensure that the trial is fair.

          It is beyond dispute that ex parte communications, ex parte motions, ex parte

 responses to motions, ex parte conferences effectively leave the defendant without

 representation and without an attorney “who plays the role necessary to ensure that the

 trial is fair."

          In Geders v. United States, 425 U.S. 80, 88-89, 96 S.Ct. 1330, 47 L.Ed.2d 592

 (1976), the Court held that by its rulings, a trial court can deprive a defendant of his 6th

 Amendment right to counsel:

          Our cases recognize that the role of counsel is important precisely because
          ordinarily a defendant is ill-equipped to understand and deal with the trial
          process without a lawyer's guidance.

          "The right to be heard would be, in many cases, of little avail if it did not
          comprehend the right to be heard by counsel. . . . [A defendant] requires the
          guiding hand of counsel at every step in the proceedings against him."

          Quoting: Powell v. Alabama, 287 U.S. 45, 68-69, 53 S.Ct. 55, 64, 77 L.Ed.
          158, 170 (1932).

          See also: Herring v. New York, 422 U.S. 853, 95 S.Ct. 2550, 45 L.Ed.2d 593

 (1975); Brooks v. Tennessee, 406 U.S. 605, 612-613, 92 S.Ct. 1891, 1895, 32 L.Ed.2d

 358 (1972); Ferguson v. Georgia, 365 U.S. 570, 593-596, 81 S.Ct. 756, 768-770, 5

 L.Ed.2d 783 (1961).




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           Clearly, by excluding defendant and his counsel from significant portions

 of the proceedings against him, this Court has violated Defendant’s Sixth

 Amendment and Due Process Rights in ways that far exceed the violations

 condemned in the cited cases.

           Additionally, in Strickland v. Washington, 466 U.S. at 686 the Court expressly

 stated: “Government violates the right to effective assistance when it interferes in certain

 ways with the ability of counsel to make independent decisions about how to conduct

 the defense.” The conduct of the government in this case surpasses what the Court

 denounced in Strickland v. Washington.

           In this Court, it appears that these constitutional requirements constrain neither

 the attorneys for the government nor the judges of this Court. In light of the conduct of

 the prosecution and the judges regarding the charges against him to date, Defendant has

 no reasonable expectation of a fair trial or a fair hearing on any matter presented on his

 behalf.

           2. Ex Parte Communications Violate Judicial Standards.

           In Anglo-American jurisprudence, the classic example of the system being out of

 control, unfair, and just plain wrong is the Court of Star Chambers. While that Court

 lacked numerous protections, which are now embodied in the Constitution and in the law,

 it is most often condemned for its secrecy. The prohibitions against ex parte

 communications between an attorney for a party and a judge are so well established as to

 be considered fundamental. Canon 3(A)(4) of Code of Conduct for United States Judges

 prohibits the very conduct that occurred in this case.

           A judge should accord to every person who has a legal interest in a
           proceeding, and that person’s lawyer, the full right to be heard according to



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        law. Except as set out below, a judge should not initiate, permit, or consider
        ex parte communications or consider other communications concerning a
        pending or impending matter that are made outside the presence of the
        parties or their lawyers.

        Also in the first paragraph of section (A)(4) is the procedures required by the

 Court, if it receives an ex parte communication:

        If a judge receives an unauthorized ex parte communication bearing on the
        substance of a matter, the judge should promptly notify the parties of the
        subject matter of the communication and allow the parties an opportunity
        to respond, if requested.

        See also, ABA Model Code of Judicial Conduct, Canon 2, Rule 2.9.

        The problem created by the ex parte communications is that the Court now has

 secret information that appears to have affected and appears will affect decisions to be

 made by the Court. Even if the secret information does not affect the Courts decision

 making, there is no way that the defendant will believe that, and under our adversary

 system, there is no reason he should. This conduct is inconsistent with the purpose of the

 Code of Conduct for United States Judges as embodied in Canon 1:


        Canon 1: A Judge Should Uphold the Integrity and Independence of
        the Judiciary

        An independent and honorable judiciary is indispensable to justice in our
        society. A judge should maintain and enforce high standards of conduct and
        should personally observe those standards, so that the integrity and
        independence of the judiciary may be preserved. The provisions of this
        Code should be construed and applied to further that objective.

        The conduct of the government and the Court with regard to Defendant Spencer

 Pak is inconsistent with the Code of Conduct for United States Judges.




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         It is difficult to see how the ex parte communications in this case are consistent

 with those goals. Ex parte communications being the basis of defendant’s incarceration

 is a direct violation of these goals.

         Remedies

         In the famous case of United States v. Anthony Russo and Daniel Ellsberg,

 Crim.No. 9373 (C.D.Cal.1973), Judge Matthew Bryant dismissed the case because of

 government misconduct demonstrated that defendants could not receive a fair trial. The

 basis for such a remedy was enunciated by the United States Supreme Court in

 Communist Party of the United States v. Subversive Activities Control Board, 351 U.S.

 115, 124, 76 S.Ct. 663, 668, 100 L.Ed. 1003, (1955):

         The untainted administration of justice is certainly one of the most cherished
         aspects of our institutions. Its observance is one of our proudest boasts. This
         Court is charged with supervisory functions in relation to proceedings in the
         federal courts. (citation omitted) Therefore, fastidious regard for the honor
         of the administration of justice requires the Court to make certain that the
         doing of justice be made so manifest that only irrational or perverse claims
         of its disregard can be asserted.

         See also: United States v. Banks, 383 F.Supp. 389 (D. S.D., 1974);
         Olmstead v. United States, 277 U.S. 438, 470, 48 S.Ct. 564, 575, 72 L.Ed.
         944 (1928) (Holmes, J., dissenting), 277 US at 484--485, 48 S.Ct. at 574
         (Brandeis, J., dissenting).

         In this case, Defendant believes that dismissal is the appropriate remedy. Because

 of the facility with which the judges of this Court have engaged in ex parte communication

 with the government it is difficult to see how the Defendant can have a fair trial in this

 jurisdiction. Because the United States has demonstrated an unrelenting use of ex parte

 communications, Defendant cannot receive a fair trial. Nonetheless, if the Court denies

 the motion to dismiss over objection, other remedies are suggested.

 CONCLUSION



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         WHEREFORE, Defendant prays this Court order the relief sought herein and/or

  such other and further relief as it may deem just and proper.

                                                                  Respectfully Submitted

                                                                  Spencer Pak
                                                                  By Counsel

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                               CERTIFICATE OF SERVICE

          I hereby certify that on the 19th day of September 2019, I will electronically file
  the foregoing with the Clerk of Court using the CM/ECF system, which will then send a
  notification of such filing (NEF) to the following:

  James Trump, AUSA
  Office of the United States Attorney
  2100 Jamieson Avenue
  Alexandria, VA 22314



                                                        ______/s/______________
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